

Camperlino v Bargabos (2018 NY Slip Op 06445)





Camperlino v Bargabos


2018 NY Slip Op 06445


Decided on September 28, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 28, 2018

PRESENT: WHALEN, P.J., SMITH, CARNI, LINDLEY, AND WINSLOW, JJ. (Filed Sept. 28, 2018.) 


MOTION NO. (632/18) CA 17-01007.

[*1]W. JAMES CAMPERLINO, PLAINTIFF-RESPONDENT,
vDAN E. BARGABOS AND KENWOOD HOMES, INC., DOING BUSINESS AS HERITAGE HOMES, DEFENDANTS-APPELLANTS. (APPEAL NO. 3.)



MEMORANDUM AND ORDER
Motion for leave to appeal to the Court of Appeals denied.








